

People ex rel. Pacheco v Maginley-Liddie (2024 NY Slip Op 00043)





People ex rel. Pacheco v Maginley-Liddie


2024 NY Slip Op 00043


Decided on January 8, 2024


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on January 8, 2024
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

ANGELA G. IANNACCI, J.P.
LINDA CHRISTOPHER
LARA J. GENOVESI
BARRY E. WARHIT, JJ.


2023-12309

[*1]The People of the State of New York, ex rel. Eliza Pacheco, on behalf of Dominick Giordano, petitioner,
vLynelle Maginley-Liddie, etc., respondent.


Eliza Pacheco, Staten Island, NY, petitioner pro se.
Michael E. McMahon, District Attorney, Staten Island, NY (Timothy Pezzoli and Rhys Johnson of counsel), for respondent.



DECISION &amp; JUDGMENT
Writ of habeas corpus in the nature of an application to release Dominick Giordano upon his own recognizance or, in the alternative, to set reasonable bail upon Richmond County Indictment No. 70803/2023.
ADJUDGED that the writ is dismissed, without costs or disbursements.
The determination of the Supreme Court, Richmond County, did not violate "constitutional or statutory standards" (People ex rel. Klein v Krueger , 25 NY2d 497, 499; see People ex rel. Rosenthal v Wolfson , 48 NY2d 230).
IANNACCI, J.P., CHRISTOPHER, GENOVESI and WARHIT, JJ., concur.
ENTER:
Darrell M. Joseph
Acting Clerk of the Court








